
		
OSCN Found Document:RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2024 OK 11Case Number: Decided: 03/04/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 11, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION






RE: Suspension of Certificates of Certified Shorthand Reporters

ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the annual certificate renewal requirements for 2024.
Pursuant to 20 O.S., Chapter 20, App. 1, Rules 20(c) and 23(d), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.
IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective March 4, 2024.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 4TH day of MARCH, 2024.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR
_Court Reporters Exhibit A







Name

CSR #

Reason



Shea Aleman
&nbsp;
Lisa Buckles
Kortney Houts
&nbsp;
Marlene Johnson
Suelynn Morgan
Melissia Prawl

2034
&nbsp;
1052
1804
&nbsp;
322
1397
1751


Renewal Fee and Continuing Education
Renewal Fee and Continuing Education
Renewal Fee and Continuing Education
Renewal Fee
Continuing Education
Continuing Education











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